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PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
John A. Morris (NY Bar No. 2405397) (admitted pro hac vice)
Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760

HAYWARD PLLC
Melissa S. Hayward, Texas Bar No. 24044908
MHayward@HaywardFirm.com
Zachery Z. Annable, Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110

Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                                           §
                                                                 §   Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                             §
                                                                 §   Case No. 19-34054-sgj11
                                                                 §
                                    Debtor.
                                                                 §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                               §
                                                                 §
                                    Plaintiff,                   §   Adversary Proceeding No.
                                                                 §
vs.                                                              §   21-03003-sgj
                                                                 §
JAMES DONDERO,                                                   §
                                                                 §
                                    Defendant.                   §



1 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

WITNESS AND EXHIBIT LIST FOR HEARING ON MAY 25, 2021                                                    PAGE 1 OF 4
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                      DEBTOR’S WITNESS AND EXHIBIT LIST WITH
                   RESPECT TO HEARING TO BE HELD ON MAY 25, 2021

         Highland Capital Management, L.P. (the “Debtor”) submits the following witness and

exhibit list with respect to (i) James Dondero’s Motion and Memorandum of Law in Support to

Withdraw the Reference [Docket No. 21] (status conference); and (ii) James Dondero's Motion

to Stay Pending the Motion to Withdraw the Reference of Plaintiff's Complaint [Docket No. 22]

which the Court has set for hearing at 1:30 p.m. (Central Time) on May 25, 2021 (the “Hearing”)

in the above-styled adversary proceeding (the “Adversary Proceeding”).

         A.      Witnesses:

                 1.         Any witness identified by or called by any other party; and

                 2.         Any witness necessary for rebuttal.

         B.      Exhibits:

Letter                                      Exhibit                                Offered      Admitted


 1.           NexPoint Advisors, L.P. Note ($30.7 Million)

              Highland Capital Management Fund Advisors, L.P. Note (2.4
 2.
              Million)
              Highland Capital Management Fund Advisors, L.P. Note ($5
 3.
              Million)

 4.           Dondero First Note ($3.825 Million)

 5.           Dondero Second Note ($2.5 Million)


 6.           Dondero Third Note ($2.5 Million)


 7.           NexPoint Advisors, L.P. Demand Letter

 8.           Response Letter to NexPoint Advisors, L.P. re Partial Payment



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Letter                                  Exhibit                            Offered      Admitted

             Highland Capital Management Fund Advisors, L.P. Demand
 9.
             Letter

 10.         James Dondero Demand Letter

 11.         NexPoint Advisors, L.P.’s Original Answer [Docket No. 6]

             Highland Capital Management Fund Advisors, L.P.’s Original
 12.
             Answer [Docket No. 6]

 13.         Defendant James Dondero’s Original Answer [Docket No. 6]

             Defendant James Dondero’s Amended Answer [Docket No.
 14.
             16]
             NexPoint Advisors, L.P.’s Objections and Responses to
 15.         Plaintiff’s Requests for Admissions, Interrogatories, and
             Requests for Production
             Defendant James Dondero’s Objections and Responses to
 16.         Highland Capital Management, L.P.’s Second Request for
             Production of Documents
             Defendant James Dondero’s Objections and Responses to
 17.         Highland Capital Management, L.P.’s First Request for
             Admissions
             Defendant James Dondero’s Objections and Responses to
 18.         Highland Capital Management, L.P.’s Second Request for
             Admissions
             Defendant James Dondero’s Objections and Responses to
 19.         Highland Capital Management, L.P.’s First Set of
             Interrogatories
             Defendant James Dondero’s Objections and Responses to
 20.         Highland Capital Management, L.P.’s Second Set of
             Interrogatories
             Any document entered or filed in the Adversary Proceeding,
 21.
             including any exhibits thereto
             Any document entered or filed in the Debtor’s chapter 11
 22.
             bankruptcy case, including any exhibits thereto
             All exhibits necessary for impeachment and/or rebuttal
 23.
             purposes


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Letter                                   Exhibit                                Offered      Admitted

             All exhibits identified by or offered by any other party at the
 24.
             Hearing




Dated: May 21, 2021.                           PACHULSKI STANG ZIEHL & JONES LLP

                                               Jeffrey N. Pomerantz (CA Bar No.143717)
                                               Ira D. Kharasch (CA Bar No. 109084)
                                               John A. Morris (NY Bar No. 2405397)
                                               Gregory V. Demo (NY Bar 5371992)
                                               Hayley R. Winograd (NY Bar No. 5612569)
                                               10100 Santa Monica Blvd., 13th Floor
                                               Los Angeles, CA 90067
                                               Telephone: (310) 277-6910
                                               Facsimile: (310) 201-0760
                                               E-mail: jpomerantz@pszjlaw.com
                                                          ikharasch@pszjlaw.com
                                                          jmorris@pszjlaw.com
                                                          gdemo@pszjlaw.com


                                               -and-

                                               HAYWARD PLLC

                                              /s/ Zachery Z. Annable
                                              Melissa S. Hayward
                                              Texas Bar No. 24044908
                                              MHayward@HaywardFirm.com
                                              Zachery Z. Annable
                                              Texas Bar No. 24053075
                                              ZAnnable@HaywardFirm.com
                                              10501 N. Central Expy, Ste. 106
                                              Dallas, Texas 75231
                                              Tel: (972) 755-7100
                                              Fax: (972) 755-7110

                                              Counsel for Highland Capital Management, L.P.




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